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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

STRYKER CORPORATION, et al.,

Plaintiffs,
                                                            File No. 1:13-CV-01066
v.
                                                            The Honorable Robert Holmes Bell
CHRISTOPHER RIDGEWAY, et al.,

Defendants.
___________________________________________

STONE SURGICAL, LLC,

Plaintiff,
                                                            File No. 1:14-CV-889
v.
                                                            The Honorable Robert Holmes Bell
STRYKER CORPORATION, et al.,

Defendants.
___________________________________________

                MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL

         Defendant, Christopher Ridgeway, pursuant to Local Rule 10.6, moves this Honorable

Court for an Order granting leave of Court to file Exhibits to its Memorandum in Support of

Motion for Partial Summary Judgment (Rec. Doc. 119) under seal, upon representing that this

Honorable Court has not entered a previous Order authorizing the submission of the documents

under seal, but that the Court has entered a Protective Order (Rec. Doc. 100) requiring

Christopher Ridgeway to maintain the “confidential” designation made by Stryker Corporation

to these Exhibits, which were produced by Stryker and are listed as follows:




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EXHIBIT         DESCRIPTION
1               Bates No. STRBIO00009009 consists of an email string by Sarah Krupinski to
                Cameron Hunter dated September 6, 2013 acknowledging that Stryker has no
                Non-Compete Agreement for Christopher Ridgeway

4               Bates No. STRBIO00008471-79 is an Employee Non-Compete Agreement
                between Stryker Leibinger, Inc. and Todd Washington dated July 1, 2000

5               Bates No. STRBIO00007840-48 is an Employee Non-Compete Agreement
                between Danny Chonkich and Stryker Leibinger, Inc. dated July 1, 2000

6               Bates No. STRBIO00003846-47 is an Engagement Letter hiring Tyson Stull
                dated April 19, 2001 referencing “the enclosed Employee Non-Compete
                Agreement”

7               Bates No. STRBIO00003859 is an Engagement Letter dated May 14, 2001
                hiring Joseph Slattery referencing “the enclosed Employee Non-Compete
                Agreement”

8               Bates No. STRBIO00003872-75 is an Engagement Letter dated November 9,
                2001 hiring Chris Schuldt referencing “the enclosed Employee Non-Compete
                Agreement” and attaching the Non-Compete Agreement prepared for the
                signature of Jonathan Bagrosky, but signed by Jeff Semon on May 30, 2002

9               Bates No. STRBIO00007914 is a Signature page to Non-Compete Agreement
                signed by Darrin Dixon on November 7, 2001 and prepared for the signature of
                Jonathan Bagrosky, but signed by R.J. Semon on May 29, 2002

10.             Bates No. STRBIO00008042-50 is an Employee Non-Compete Agreement of
                Michael Hoppe dated February 5, 2001 signed by Jonathan Bagrosky

11.             Bates No. STRBIO00014191 is the 2011 Performance Review of Christopher
                Ridgeway

14.             Bates No. STRBIO00014213 is the 2008 Performance Review of Christopher
                Ridgeway




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                                              RESPECTFULLY SUBMITTED:


                                              /s/ Wade P. Webster
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                                              Attorneys for Christopher Ridgeway


                                 CERTIFICATE OF SERVICE

         I do hereby certify that a copy of the foregoing was on this 9th day of December, 2014

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record by operation of the Court’s electronic filing system.



                                              /s/ Wade P. Webster




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